Case No. 1:20-cv-00694-PAB-SBP Document 265 filed 01/25/24 USDC Colorado pg 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:20-cv-00694-PAB-SBP

   MOSTAFA KAMEL MOSTAFA,

          Plaintiff,

   v.

   MERRICK GARLAND, in his official capacity as United States Attorney General,
   CHRISTOPHER WRAY, in his official capacity as FBI Director,
   MICHAEL CARVAJAL, in his official capacity as BOP Director,
   B. TRUE, in his official capacity as ADX Florence Warden, and
   NURSE WILLIAM,

          Defendants.


                                       ORDER OF RECUSAL


          Prior to my appointment as a United States Magistrate Judge, I represented Defendants in

   this action. See ECF No. 40 (October 15, 2020 Notice of Entry of Appearance); ECF No. 255

   (April 26, 2023 Order Granting Motion to Withdraw as Attorney). Therefore, I respectfully

   recuse myself from service in this case. See 28 U.S.C. §§ 455(a), (b)(3).

          IT IS ORDERED that:

          (1)     I recuse myself from further service in this matter, and

          (2)     The Clerk of the Court shall cause this case to be reassigned.

   DATED: January 25, 2024                              BY THE COURT:




                                                        Susan Prose
                                                        United States Magistrate Judge
